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                                               759

                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION


UNITED STATES OF AMERICA, et al.,                   )
                                                    )
            Plaintiff(s),                           )
                                                    )
      vs.                                           )            Case No. 4:10CR00660 JCH
                                                    )
VALERIE R. ROSS,                                    )
                                                    )
            Defendant(s).                           )

                                               ORDER

         The purpose for which cash bail was posted in the above styled matter having now been

served, the Clerk is hereby ORDERED to draw a Registry Check in the sum of $1,000.00 to the

surety of record.



                                                        /s/Jean C. Hamilton

                                                    JEAN C. HAMILTON
                                                    UNITED STATES DISTRICT JUDGE

            Dated this 12th day of September, 2011.

  **************************************************************************
                    VERIFICATION OF DEFENDANT'S STATUS
                        (to be completed by the district Court)

I certify that the amount of the bond listed above is being held in the Registry of the United States
District Court-Eastern district of Missouri. I also certify that the status of the defendant is such that
the conditions of the bond have been met as of this 12th day of September, 2011.


                                                    /s/ Laura Robinson
                                                        Deputy Clerk
